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                      UNITED STATES BANKRUPTCY COURT
                                     FOR THE
                       WESTERN DISTRICT OF KENTUCKY


IN RE:                                    )
                                          )      Case No. 18-33691
BRIAN JOHN CERNIGLIA                      )      Chapter 13
Debtor (s)________________________ )




                          CERTIFICATE OF MAILING
      The undersigned hereby certifies that a true copy of the Chapter 13 Plan
and Proof of Claim was mailed to all parties in interest at the addresses set forth
in the mailing matrix, by first class mail on February 25, 2019.




Dated: 2/25/19                            /s/________________________
                                          THOMAS P. SHREVE
                                          Attorney for Debtor
